 Case 2:07-cr-20167-KHV          Document 676         Filed 11/21/11      Page 1 of 7




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )                     CRIMINAL ACTION
                                            )                     No. 07-20167-08-KHV
v.                                          )
                                            )                     CIVIL ACTION
CHARLES R. SINGLETON,                       )                     No. 11-2406-KHV
                                            )
                         Defendant.         )
____________________________________________)

                                MEMORANDUM AND ORDER

       On February 12, 2009, defendant pled guilty to conspiracy to manufacture, to possess with

intent to distribute and to distribute 50 grams or more of cocaine base and to possess with intent to

distribute five kilograms or more of cocaine. See Petition To Enter Plea Of Guilty And Order

Entering Plea (Doc. #335).1 On June 5, 2009, the Court sentenced defendant to 120 months in

prison. This matter is before the Court on defendant’s Motion To Vacate, Set Aside Or Correct

Sentence Pursuant To Title 28, United States Code, Section 2255 (Doc. #655) filed July 21, 2011.

For reasons stated below, the Court overrules defendant’s motion.

                                             Analysis

       Section 2255 provides a one-year period of limitation which ordinarily runs from the date

on which the judgment of conviction becomes final.2 When a defendant has filed an appeal, a


       1
               The Honorable Carlos Murguia presided at the change of plea hearing. In exchange
for defendant’s guilty plea, the government agreed to dismiss three other counts against defendant:
use of a communication facility to facilitate the conspiracy, possession with intent to distribute
cocaine, and use and carry of a firearm during and in relation to a drug trafficking crime. See Plea
Agreement ¶ 1.
       2
               The one-year period of limitation runs from the latest of –

                                                                                       (continued...)
 Case 2:07-cr-20167-KHV          Document 676         Filed 11/21/11      Page 2 of 7




judgment of conviction becomes final when the time expires for filing a petition for certiorari

contesting the appellate court’s ruling. Clay v. United States, 537 U.S. 522, 524-25 (2003). Here,

the Tenth Circuit issued its mandate on January 19, 2010. The deadline to file a petition for

certiorari expired on or about March 29, 2010, i.e. 69 days after the appellate court issued its

mandate. See id. Therefore defendant had until March 29, 2011 to file a motion to vacate under

Section 2255.

       Defendant concedes that his motion is not timely under Section 2255. But defendant argues

that the Court should not enforce the procedural bar because he is innocent. Under certain

circumstances a claim of actual innocence may be a ground for equitable tolling of the limitations

period. See Gibson v. Klinger, 232 F.3d 799, 808 (10th Cir. 2000) (AEDPA statute of limitations

subject to equitable tolling only in rare and exceptional circumstances such as when prisoner is

“actually innocent”). Actual innocence in this regard means factual innocence, not mere legal

insufficiency. Bousley v. United States, 523 U.S. 614, 623 (1998); see Sawyer v. Whitley, 505 U.S.

333, 339 (1992). To establish actual innocence, a petitioner must demonstrate that “it is more likely


       2
        (...continued)
       (1) the date on which the judgment of conviction becomes final;

       (2) the date on which the impediment to making a motion created by governmental
       action in violation of the Constitution or laws of the United States is removed, if the
       movant was prevented from making a motion by such governmental action;

       (3) the date on which the right asserted was initially recognized by the Supreme
       Court, if that right has been newly recognized by the Supreme Court and made
       retroactively applicable to cases on collateral review; or

       (4) the date on which the facts supporting the claim or claims presented could have
       been discovered through the exercise of due diligence.

28 U.S.C. § 2255(f).

                                                -2-
 Case 2:07-cr-20167-KHV          Document 676         Filed 11/21/11     Page 3 of 7




than not that no reasonable juror would have convicted him in the light of . . . new evidence.”

Schlup v. Delo, 513 U.S. 298, 327 (1995); see United States v. Starr, 275 Fed. Appx. 788, 789 (10th

Cir. 2008); see also Bousley, 523 U.S. at 623 (applying Schlup standard to Section 2255 motion).

To be credible, a claim of actual innocence ordinarily must be supported with new reliable evidence

such as exculpatory scientific evidence, trustworthy eyewitness accounts, or critical physical

evidence. See Schlup, 513 U.S. at 324. Because such evidence is obviously unavailable in the vast

majority of cases, claims of actual innocence are rarely successful. Id. at 324.

       Here, defendant asserts that his attorney allowed him to plead guilty to a conspiracy which

involved 50 grams or more of cocaine base and five kilograms of more of cocaine when in fact the

presentence investigation report (“PSIR”) held defendant accountable for only two and a half

kilograms of cocaine.3 Defendant does not allege or explain how he is factually innocent of the

crime of conspiracy which is based on his agreement with others to commit certain drug offenses.

That agreement is “a distinct evil, which may exist and be punished whether or not the substantive

crime ensues.” United States v. Jimenez Recio, 537 U.S. 270, 274 (2003) (internal quotation marks



       3
               The PSIR calculated the drug amount attributed to defendant as follows:

       At the time of his arrest, Charles Singleton possessed just over $32,000, enough to
       purchase 1½ kilograms of cocaine. In CS3’s proffer, it is also noted that Singleton
       is known to purchase one kilogram of cocaine at a time. Wire intercepts and
       surveillance also support the connection between Locke and Singleton. Considering
       this information, Singleton is accountable for 1½ kilograms converted from the
       currency in his possession at the time of his arrest. Additionally, from the CS3
       proffer statement, it is known that Singleton purchased a kilogram of cocaine on at
       least one other occasion. Adding one kilogram, results in the defendant being
       accountable for 2½ kilograms of cocaine.

PSIR ¶ 99.


                                                -3-
 Case 2:07-cr-20167-KHV           Document 676          Filed 11/21/11      Page 4 of 7




and citations omitted); see United States v. McCullough, 457 F.3d 1150, 1162 (10th Cir. 2006)

(essence of conspiracy is agreement to commit substantive offense). Defendant pled guilty to

conspiracy and was “subject to the same penalties as those prescribed for the offense, the

commission of which was the object of the . . . conspiracy.” 21 U.S.C. § 846. Under the conspiracy

statute, the quantity of controlled substances which was the object of the conspiracy established the

applicable statutory minimum and maximum under Section 841(b)(1)(A). At the change of plea

hearing, defendant admitted that the object of the conspiracy was to possess with intent to distribute

and to distribute 50 grams or more of cocaine base and to possess with intent to distribute five

kilograms or more of cocaine. See Transcript Of Change Of Plea Hearing (Doc. #533) filed

September 3, 2009 at 2, 5; see also id. at 7-8 (by pleading guilty, defendant admitted all facts alleged

in charge); id. at 8-9 (defendant understood that he was subject to minimum term of 10 years in

prison). Whether defendant or his co-conspirators actually had an opportunity to commit the

underlying offenses is irrelevant for purposes of determining the statutory minimum and maximum.4




       4
                In contrast, the relevant conduct provision of the Guidelines, U.S.S.G. § 1B1.3, is not
based on the quantity of drugs which was the object of the agreement. In the case of jointly
undertaken criminal activity, relevant conduct under the Guidelines includes “all reasonably
foreseeable acts and omissions of others in furtherance of the jointly undertaken criminal activity.”
U.S.S.G. § 1B1.3(a)(1)(B). Such conduct, however, does not include the conduct of members of a
conspiracy “prior to the defendant joining the conspiracy, even if the defendant knows of that
conduct.” App. Note n.2. Another Application Note to the relevant conduct provision notes that
the principles and limits of sentencing accountability under the guideline are not always the same
as the principles and limits of criminal liability. See App. Note n.1; cf. United States v. Foxx, 544
F.3d 943, 953 (8th Cir. 2008) (for purposes of statutory minimum, drug quantities distributed by
conspiracy can be “reasonably foreseeable,” even if those quantities were distributed before
defendant joined conspiracy).

                                                  -4-
 Case 2:07-cr-20167-KHV           Document 676         Filed 11/21/11     Page 5 of 7




       Defendant refers to PSIR statements about his personal involvement, but such evidence is

not “new evidence” and does not establish the scope of the object of his agreement.5 Defendant has

not alleged or shown that in light of “new” evidence, more likely than not, no reasonable jury would

have convicted him.6 Because defendant has not presented credible new evidence of actual

innocence, the Court overrules his Section 2255 motion as untimely.7

                                            Conclusion

       The files and records in this case conclusively show that defendant is not entitled to relief.

Moreover, defendant does not allege specific and particularized facts which are not directly refuted

by the record or if true, would entitle him to relief. Accordingly, no evidentiary hearing is required

on defendant’s claim of actual innocence. See 28 U.S.C. § 2255; United States v. Kilpatrick, 124

F.3d 218, 1997 WL 537866, at *3 (10th Cir. Sept. 2, 1997) (allegations of ineffective assistance

must be specific and particularized; conclusory allegations do not warrant hearing); United States


       5
               The PSIR notes that Boytina Locke told Confidential Source #1 that the money which
officers seized from defendant was to be used for the purchase of one and a half kilograms of
cocaine. See PSIR ¶ 82. The PSIR also notes that Confidential Source #3 knew defendant “to be
a kilogram at a time customer.” See id., ¶ 96. The PSIR simply assigned one kilogram of cocaine
to defendant based on the statement of Confidential Source #3 and apparently did not attempt to
determine whether Confidential Source #3 observed defendant on multiple occasions with one
kilogram of cocaine. In any event, the fact that defendant was personally responsible for at least
2.5 kilograms of cocaine and dealt in kilogram quantities of cocaine is entirely consistent with an
overall agreement involving distribution of five kilograms or more of cocaine.
       6
               Defendant also has failed to address his innocence of the three counts which the
government agreed to dismiss as part of the plea agreement. See Bousley, 523 U.S. at 624 (showing
of actual innocence must also extend to any charges which the government did not pursue as part
of plea bargain). Most notably, defendant does not address Count 31 which charged him with using
and carrying a firearm during and in relation to a drug trafficking crime in violation of 18 U.S.C.
§ 924(c). The gun charge carried a mandatory 60-month consecutive sentence.
       7
              Defendant alleges that counsel did not adequately explain conspiracy law. The Court
need not address this argument to determine whether defendant has satisfied the actual innocence
standard.

                                                 -5-
 Case 2:07-cr-20167-KHV           Document 676          Filed 11/21/11      Page 6 of 7




v. Marr, 856 F.2d 1471, 1472 (10th Cir. 1988) (no hearing required where factual matters raised by

Section 2255 petition may be resolved on record); United States v. Barboa, 777 F.2d 1420, 1422-23

(10th Cir. 1985) (hearing not required unless “petitioner’s allegations, if proved, would entitle him

to relief” and allegations are not contravened by record).

                                    Certificate Of Appealability

       Under Rule 11 of the Rules Governing Section 2255 Proceedings, the Court must issue or

deny a certificate of appealability when it enters a final order adverse to the applicant. A certificate

of appealability may issue only if the applicant has made a substantial showing of the denial of a

constitutional right. 28 U.S.C. § 2253(c)(2).8 To satisfy this standard, the movant must demonstrate

that “reasonable jurists would find the district court’s assessment of the constitutional claims

debatable or wrong.” Saiz v. Ortiz, 392 F.3d 1166, 1171 n.3 (10th Cir. 2004) (quoting Tennard v.

Dretke, 542 U.S. 274, 282 (2004)). For reasons stated above, the Court finds that defendant has not

made a substantial showing that he is actually innocent. The Court therefore denies a certificate of

appealability as to its ruling on defendant’s Section 2255 motion.

       IT IS THEREFORE ORDERED that defendant’s Motion To Vacate, Set Aside, Or Correct

Sentence Pursuant To Title 28 United States Code Section 2255 (Doc. #655) filed July 21, 2011 be

and hereby is OVERRULED.

       IT IS FURTHER ORDERED that a certificate of appealability as to the ruling on

defendant’s Section 2255 motion is DENIED.




       8
                 The denial of a Section 2255 motion is not appealable unless a circuit justice or a
circuit or district judge issues a certificate of appealability. See Fed. R. App. P. 22(b)(1); 28 U.S.C.
§ 2253(c)(1).

                                                  -6-
Case 2:07-cr-20167-KHV       Document 676        Filed 11/21/11      Page 7 of 7




     Dated this 21st day of November, 2011 at Kansas City, Kansas.

                                        s/ Kathryn H. Vratil
                                        KATHRYN H. VRATIL
                                        United States District Judge




                                           -7-
